      Case: 4:23-cv-00781-JPC Doc #: 6 Filed: 04/19/23 1 of 2. PageID #: 81




                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

 NIKI FRENCHKO,                           )     Case No. 4:23-cv-00781
                                          )
       Plaintiff,                         )
                                          )     Judge J. Philip Calabrese
 v.                                       )
                                          )     Magistrate Judge Thomas M.
 MONROE, et al.,                          )     Parker
                                          )
        Defendants.                       )
                                          )

                             MINUTES AND ORDER

      On April 18, 2023, the Court conducted a hearing on the record on Plaintiff’s

motion for a temporary restraining order. (ECF No. 2.) Matthew E. Miller-Novak

appeared for Plaintiff. No Defendants or their counsel appeared. For the reasons

stated on the record, the Court finds that defendants received actual notice of the

hearing, which proceeded ex parte pursuant to Rule 65(b)(1)(B).

      The Court heard oral argument on Plaintiff’s motion. For the reasons stated

on the record, the Court DENIED the motion.

      The Court directed Plaintiff to perfect service, by personal service or other

means, expeditiously if Defendants do not promptly waive service. Further, the Court

advised that as soon as soon is perfected, the Court will conduct a hearing in person

with all parties and their counsel.

      SO ORDERED.
      Case: 4:23-cv-00781-JPC Doc #: 6 Filed: 04/19/23 2 of 2. PageID #: 82




Dated: April 19, 2023




                                     J. Philip Calabrese
                                     United States District Judge
                                     Northern District of Ohio




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